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         In the United States Court of Federal Claims
                                          No. 01-720T
                                     Filed: March 30, 2012
                                     TO BE PUBLISHED

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                                          *
                                          *                 AMCOR Partnership;
RICHARD E. DAHLBERG,                      *                 Federal Income Tax Partnerships;
                                          *                 Final Partnership Administrative
and                                       *                    Adjustment;
                                          *                 Interest on a Tax Motivated
HEATHER H. DAHLBERG,                      *                    Transaction, 26 U.S.C. § 6621(c)(1);
                                          *                 Sham Transactions;
       Plaintiffs,                        *                 Statute of Limitations, 26 U.S.C.
                                          *                    §§ 6501, 6229;
    v.                                    *                 Subject Matter Jurisdiction, RCFC
                                          *                    12(b)(1).
THE UNITED STATES,                        *
                                          *
       Defendant.                         *
                                          *
                                          *
*******************************************

Thomas E. Redding, Redding & Associates, P.C., Houston, Texas, Counsel for Plaintiffs.

Paul George Galindo, United States Department of Justice, Tax Division, Washington, D.C.,
Counsel for Defendant.

                     MEMORANDUM OPINION AND FINAL ORDER

BRADEN, Judge.

        This case presents jurisdictional issues relevant to federal income tax refund cases
concerning partnerships. These issues are familiar to the court and the United States Court of
Appeals for the Federal Circuit. See, e.g., Keener v. United States, 76 Fed. Cl. 455 (2007)
(“Keener I”), aff’d, 551 F.3d 1358 (Fed. Cir. 2009) (“Keener II”); see also Prati v. United States,
81 Fed. Cl. 422 (2008) (“Prati I”), mot. to recons. denied, 82 Fed. Cl. 373 (2008) (“Prati II”),
aff’d, 603 F.3d 1301 (Fed. Cir. 2010) (“Prati III”).
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I.     RELEVANT FACTS. 1

        In 1985, Richard and Heather Dahlberg (“Plaintiffs”) invested in USB-1985 Associates, a
limited partnership managed by American Agri-Corp, Inc. (“AMCOR”), wherein the partners
advanced farming expenses to farmers and then deducted those expenses from their individual
federal income taxes. Compl. ¶ 6; Pl. Resp. Ex. 5; see also Prati I, 81 Fed. Cl. at 425.
Effectively, “by participating in an AMCOR partnership, an investor could obtain what
amounted to an interest-free loan from the [federal] government for the unpaid portion of [the
investor’s] taxes.” Prati I, 81 Fed. Cl. at 426.

       In 1987, the Internal Revenue Service (“IRS”) began investigating AMCOR partnerships.
See Prati III, 603 F.3d at 1302. On April 10, 1991, the IRS issued a Notice of Final Partnership
Administrative Adjustments (“FPAA”) to USB-1985 Associates disallowing the claimed
deductions, because, among other reasons, “[t]he partnership’s activities constitute[d] a series of
sham transactions.” Pl. Resp. Ex. 2 at 38. The FPAA also informed USB-1985 Associates’
partners that they could settle their individual tax liability by executing a Form 870-P, advising:

       If you want to enter into a binding agreement to treat the partnership items
       consistently with the treatment of the items on the partnership return as modified
       by the FPAA, please sign and return the enclosed Form 870-P. Signing and
       returning Form 870-P constitutes a settlement offer by you. If the Commissioner
       accepts your offer of agreement, the treatment of the partnership items of the
       partnership under the agreement will be binding and will not be affected by any
       later judicial determination.

Pl. Resp. Ex. 2 at 33.

       On July 10, 1991, an unidentified USB-1985 Associates partner filed a petition in the
United States Tax Court contesting the FPAA. 2 Pl. Resp. Ex. 1 at 6; Pl. Resp. Ex. 4 at 45. Other
AMCOR partnerships also filed suits in that forum. See Prati III, 603 F.3d at 1302
(“Representatives of the [AMCOR] partnerships challenged the FPAA disallowances in
partnership-level proceedings before the Tax Court[.]”).

       In June 1997, Plaintiffs signed a Form 870-P(AD), that was accepted by the IRS on July
17, 1997, as “a settlement agreement with respect to the determination of partnership items of the
[USB-1985 Associates] partnership for [the tax year ended 1985].” Pl. Resp. Ex 5 at 53.


       1
       The relevant facts recited herein are derived from: the December 28, 2001 Complaint
(“Compl.”) and Exhibits A-C, attached thereto; and Plaintiffs’ October 24, 2011 Response To
Defendant’s Motion To Dismiss (“Pl. Resp.”) and Exhibits 1-11, attached thereto.
       2
         The Tax Matters Partner (“TMP”) for USB-1985 Associates, Frederick H. Behrens,
intervened in the Tax Court case in July 1999. Pl. Resp. Ex. 1 at 6; see also Prati I, 81 Fed. Cl.
426 n.10 (“The TMP is a person or entity designated as such by the partnership under applicable
regulations[.]” (citing 26 U.S.C. § 6231(a)(7)). Mr. Behrens was the TMP for all but two of the
AMCOR partnerships. Pl. Resp. Ex. 1 at 1.


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Plaintiffs also “waive[d] the restrictions on the assessment and collection of any deficiency
attributable to partnership items (with interest as required by law) provided in section 6225(a).”
Pl. Resp. Ex. 5 at 53. Furthermore, the Form 870-P(AD) provided that “the treatment of
partnership items under this agreement will not be reopened in the absence of fraud,
malfeasance, or misrepresentation of fact; and no claim for refund or credit based on any change
in the treatment of partnership items may be filed or prosecuted.” Pl. Resp. Ex. 5 at 53.

       On December 1, 1997, the IRS notified Plaintiffs that they owed $77,929.82, i.e.,
$21,382.00 in federal income taxes and $56,547.82 in interest, assessed under 26 U.S.C. §
6221(c) 3. Pl. Resp. Ex. 6 at 66, 68. On December 23, 1997, Plaintiffs paid the total amount
owed. Pl. Resp. Ex. 6 at 67. On July 13, 1999, Plaintiffs filed a refund claim with the IRS. Pl.
Resp. Ex. 6 at 55. On December 30, 1999, the IRS disallowed this claim. Pl. Resp. Ex. 8.

        On July 19, 2001, the Tax Court entered a stipulated decision in the USB-1985
Associates Tax Court case (the “Stipulated Decision”) negotiated by the TMP and the IRS. Pl.
Resp. Ex. 1 at 2-3; Pl. Resp. Ex. 10. On that same date, other AMCOR partnerships also entered
into stipulated decisions settling their Tax Court actions. See Prati III, 603 F.3d at 1303.

II.    PROCEDURAL HISTORY.

       On December 28, 2001, Plaintiffs filed a Complaint in the United States Court of Federal
Claims, seeking a refund of the $77,929.82 payment made for the 1985 tax year, because:

            •   The IRS assessed taxes after the statute of limitations period expired. Compl. ¶¶
                12.A-B (the “statute of limitations claim”);

            •   The IRS improperly imposed interest at the penalty rate under 26 U.S.C.
                § 6621(c). Compl. ¶¶ 12.C-E (the “penalty interest claim”); and

            •   The IRS should have abated interest under 26 U.S.C. § 6404(e). Compl. ¶ 12.F
                (the “interest abatement claim”).

        This case was assigned to the Honorable John P. Wiese. On May 15, 2002, the
Government filed an Answer. On October 11, 2002, the parties filed a Joint Notice Of
Indirectly-Related Cases that identified 23 indirectly related cases 4 also alleging the
aforementioned claims, and suggested that the parties select representative cases to resolve

       3
          The United States Court of Appeals for the Federal Circuit has described Section
6621(c), as “impos[ing] an interest rate of 120% of the statutory rate on ‘any substantial
underpayment attributable to tax motivated transactions.’” Keener II, 551 F.3d at 1364 (quoting
26 U.S.C. § 6621(c)(1)) (footnote omitted). In addition, “[t]he statute defines a ‘tax motivated
transaction’ to include ‘any sham or fraudulent transaction.’” Id. at 1365 (quoting 26 U.S.C.
6621(c)(3)(A)(v)).
       4
         By May 5, 2010, 129 AMCOR-related tax refund suits had been filed in the United
States Court of Federal Claims. See Prati III, 603 F.3d at 1303.



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“preliminary legal issues.” On January 8, 2003, the parties filed a Joint Notice Of Representative
Cases requesting that this case be stayed, pending the adjudication of three representative cases:
Isler v. United States, No. 01-344; Scuteri v. United States, No. 01-358; and Prati v. United
States, No. 02-60. On February 4, 2003, the court stayed this case. 5

        On May 21, 2007, the United States Supreme Court in Hinck v. United States, 550 U.S.
501 (2007), held that “the Tax Court provides the exclusive forum for judicial review of a refusal
to abate interest under § 6404(e)(1).” Id. at 503. Consequently, on July 12, 2007, the parties
filed a Joint Stipulation For Partial Dismissal of Plaintiffs’ interest abatement claim (Compl. ¶
12.F).

        On September 17, 2007, the court issued an Order dismissing Plaintiffs’ interest
abatement claim and staying the case, pending appeal of Keener I. On January 13, 2009, and
October 16, 2009, the stay was continued pending final appellate disposition in Keener and in
Prati and its companion case, Deegan v. United States, No. 2008-5129. 6

       This case remained stayed until January 21, 2011, at which time the parties filed a Joint
Status Report informing the court that the United States Supreme Court denied certiorari in Prati
and Deegan and proposing different options for proceeding with the case.

        On February 1, 2011, Plaintiffs filed a Motion To Transfer this case to the Honorable
Charles F. Lettow for consolidation with 35 other cases under the caption of Epps v. United
States, No. 06-615. On May 24, 2011, this Motion was denied.

       On September 23, 2011, the Government filed a Motion To Dismiss (“Gov’t Mot.”) the
remaining statute of limitations and penalty interest claims, pursuant to RCFC 12(b)(1). On
October 24, 2011, Plaintiffs filed a Response. On November 10, 2011, the Government filed a
Reply (“Gov’t Reply”).




       5
         Over the next three years this case was reassigned to three other judges of this court: on
August 15, 2003, the case was assigned to the undersigned judge; on March 9, 2005, at the
direction of the former Chief Judge, the case was assigned to the Honorable Victor J. Wolski; on
April 19, 2006, the case was assigned to the Honorable Lawrence J. Block; and on May 9, 2006,
the case was re-assigned to the undersigned judge. During this entire period, the case was
stayed.
        On January 5, 2007, the court issued an order again staying the case that was renewed on
April 4, 2007, because of a pending decision of the United States Supreme Court in
Hinck v. United States, No. 06-376.
       6
          Deegan was selected as a “representative” companion case to Prati I, because it
concerned “non-settling partners,” i.e., partners who did not execute a Form 870-P(AD), but
were instead bound by stipulated decisions entered into with the IRS in Tax Court proceedings.
See Prati III, 603 F.3d at 1303-04.


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III.    DISCUSSION.

        A.      Jurisdiction.

        The United States Court of Federal Claims has jurisdiction under the Tucker Act, 28
U.S.C. § 1491, “to render judgment upon any claim against the United States founded either
upon the Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or unliquidated
damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). The Tucker Act, however, is “a
jurisdictional statute; it does not create any substantive right enforceable against the United
States for money damages . . . the Act merely confers jurisdiction upon [the United States Court
of Federal Claims] whenever the substantive right exists.” United States v. Testan, 424 U.S.
392, 398 (1976) (citations omitted). Therefore, to pursue a substantive right under the Tucker
Act, a plaintiff must identify and plead an independent contractual relationship, Constitutional
provision, federal statute, and/or executive agency regulation that provides a substantive right to
money damages. Todd v. United States, 386 F.3d 1091, 1094 (Fed. Cir. 2004) (“[J]urisdiction
under the Tucker Act requires the litigant to identify a substantive right for money damages
against the United States separate from the Tucker Act[.]”); see also Fisher v. United States, 402
F.3d 1167, 1172 (Fed. Cir. 2005) (en banc) (“The Tucker Act . . . does not create a substantive
cause of action; in order to come within the jurisdictional reach and the waiver of the Tucker
Act, a plaintiff must identify a separate source of substantive law that creates the right to money
damages. In the parlance of Tucker Act cases, that source must be ‘money-mandating.’”
(citations omitted)).

        The Tucker Act authorizes the United States Court of Federal Claims to adjudicate tax
refund claims if a taxpayer has paid the full assessed federal tax liability and timely filed a
refund claim with the IRS stating the grounds for the claim. See 28 U.S.C. § 1491(a); 26 U.S.C.
§§ 6511(a), 7422(a); see also Shore v. United States, 9 F.3d 1524, 1526 (Fed. Cir. 1993)
(holding that a tax refund claim must be dismissed if the “principal tax deficiency has not been
paid in full”). Only if the claim is denied by the IRS and the taxpayer timely files suit, does the
United States Court of Federal Claims have jurisdiction to adjudicate the tax refund claim. See
26 U.S.C. § 6532(a). However, “[n]o action may be brought for a refund attributable to
partnership items[.]” 26 U.S.C § 7422(h).

        The jurisdictional defects in the December 28, 2001 Complaint are discussed below.

        B.      Standing.

        The United States Supreme Court has held that “the question of standing is whether the
litigant is entitled to have the court decide the merits of the dispute or of particular issues.”
Warth v. Seldin, 422 U.S. 490, 498 (1975). Standing must be determined “as of the
commencement of suit.” Rothe Dev. Corp. v. Dep’t of Def., 413 F.3d 1327, 1334 (Fed. Cir.
2005). The party invoking federal jurisdiction bears the burden of establishing standing. See
Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). Specifically, “a plaintiff must
show [that] it has suffered an ‘injury in fact’ that is . . . concrete and particularized and . . . actual
or imminent, not conjectural or hypothetical; . . . the injury is fairly traceable to the challenged



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action of the defendant; and . . . it is likely, as opposed to merely speculative, that the injury will
be redressed by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Serv., Inc.,
528 U.S. 167, 180-81 (2000) (citations omitted).

        The December 28, 2001 Complaint in this case alleges that Plaintiffs have suffered an
“injury in fact” that is concrete and particularized, traceable to the IRS’s actions, and redressable
by a favorable decision. See Compl. ¶¶ 7-13. Accordingly, Plaintiffs have standing to seek an
adjudication of the claims alleged in their Complaint, assuming this court has jurisdiction over
those claims.

       C.      Standard Of Review Under RCFC 12(b)(1).

        A challenge to the United States Court of Federal Claims’ “general power to adjudicate in
specific areas of substantive law . . . is properly raised by a [Rule] 12(b)(1) motion[.]”
Palmer v. United States, 168 F.3d 1310, 1313 (Fed. Cir. 1999); see also RCFC 12(b)(1) (“Every
defense to a claim for relief in any pleading must be asserted in the responsive pleading if one is
required. But a party may assert the following defenses by motion: (1) lack of subject-matter
jurisdiction[.]”). In determining whether to dismiss a complaint for lack of subject matter
jurisdiction, the court is “obligated to assume all factual allegations to be true and to draw all
reasonable inferences in plaintiff's favor.” Henke v. United States, 60 F.3d 795, 797 (Fed. Cir.
1995). Nonetheless, the plaintiffs still bear the burden of establishing jurisdiction by a
preponderance of the evidence. See Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746,
748 (Fed. Cir. 1988) (“[O]nce the [trial] court's subject matter jurisdiction [is] put in
question . . . . [the plaintiff] bears the burden of establishing subject matter jurisdiction by a
preponderance of the evidence.”).

       D.       Whether The United States Court Of Federal Claims Has Jurisdiction To
                Adjudicate The Remaining Claims Alleged In The December 28, 2001
                Complaint.

               1.      The Government’s Argument.

        The Government argues that the remaining claims alleged in the December 28, 2001
Complaint are “indistinguishable” from those at issue in Keener II and Prati III. Gov’t Mot. at
1-6. Therein, the United States Court of Appeals for the Federal Circuit held that the United
States Court of Federal Claims does not have jurisdiction, under 26 U.S.C. § 7422(h), to
adjudicate a partner-level refund suit alleging that: (1) the IRS assessed taxes after the statute of
limitations period expired or (2) an assessment of penalty interest under 26 U.S.C. § 6621(c) was
improper, because a partner’s underpayment of federal taxes was not attributable to a tax
motivated transaction. See Prati III, 603 F.3d at 1307, 1309; see also Keener II, 551 F.3d at
1363, 1367. Therefore, Keener II and Prati III foreclose the court from exercising jurisdiction
over the statute of limitations and penalty interest claims alleged in the December 28, 2001
Complaint. Gov’t Mot. at 4.




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               2.      Plaintiffs’ Response.

       Plaintiffs respond that Keener II is distinguishable because the statute of limitations and
penalty interest holdings in that case relied on concessions made by the Keener plaintiffs that
were not made here. Pl. Resp. at 6; see also Alpha I, L.P. ex rel. Sands v. United States, 89 Fed.
Cl. 347, 359 (2009) (distinguishing Keener II’s penalty interest holding on the grounds that the
Alpha I plaintiffs “did not concede the ground that the transactions at issue were shams”).

        Likewise, Prati III’s penalty interest holding is also distinguishable, because that analysis
“is reasonable only if . . . there was a ‘determination that the partnership’s transactions were tax
motivated[.]’” Pl. Resp. at 7 (quoting Prati III, 603 F.3d at 1306). Such a determination would
require this court to find that a “sham transaction” disallowance is “inseparable” from the other
asserted grounds for disallowance in the FPAA, which is not true in this case. Pl. Resp. at 7-10.
Furthermore, the TMP’s affidavit states that “[t]he IRS sought to have me concede the
transactions were shams. I refused.” Pl. Resp. Ex. 1 at 3-4 (the “Behrens Affidavit”). This
establishes that the TMP did not concede that USB-1985 Associates’ transactions were sham
transactions. Pl. Resp. at 10-11.

        The core of Plaintiffs’ argument, however, is that the court should adopt the res judicata-
based analysis applied in Duffie v. United States, 600 F.3d 362, 386 (5th Cir. 2010) (holding that
an AMCOR partnership’s partnership-level Tax Court decision was “res judicata with respect to
the partnership items” so the trial court did not have subject matter jurisdiction “to review
substantive issues relating to the interest assessment under Section 6621(c) because the interest
assessment is attributable to a partnership item” resolved by the Tax Court). In Keener II and
Prati III, however, the United States Court of Appeals for the Federal Circuit did not address the
issue of whether, under principles of res judicata, a limited partner is bound by a Tax Court
decision that was agreed to by the TMP. Pl. Resp. at 13. Therefore, “those decisions are not
precedent . . . in this subsequent case in which res judicata [is at issue].” Pl. Resp. at 23 (citing
Nat’l Cable Television Ass’n, Inc. v. Am. Cinema Editors, 937 F.2d 1572, 1581 (Fed. Cir. 1991)
(“When an issue is not argued or is ignored in a decision, such decision is not precedent to be
followed in a subsequent case in which the issue arises.”)). 7

        Plaintiffs conclude that when the proper res judicata analysis is applied, as a matter of
law, they cannot be bound by the partnership-level Tax Court Stipulated Decision, either as to
the statute of limitations claim or penalty interest claim. Pl. Resp. at 13, 21-28 (penalty interest
claim analysis), 28-39 (statute of limitations claim analysis).

       7
          In addition, Plaintiffs argue that “[t]here have been significant changes in the law since
Prati [I], [II], and even [III] were briefed and/or issued” that “impact[] one or more elements of a
res judicata analysis.” Pl. Resp. at 12 (citing Jade Trading, LLC v. United States, 598 F.3d
1372, 1380 (Fed. Cir. 2010) (holding that a partnership-level court does not have jurisdiction to
determine a non-partnership item); Henderson v. Shinseki, 131 S. Ct. 1197, 1206 (2011) (holding
that the 120-day deadline to file a notice of appeal with the United States Court of Appeals for
Veterans Claims is not jurisdictional); United States v. Tohono O’Odham Nation, 131 S. Ct.
1723, 1730 (2011) (stating that “[c]ourts should not render statutes nugatory through
construction”)).


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               3.      The Government’s Reply.

        The Government replies that it is improper to distinguish Keener II based on concessions
made by the Keener plaintiffs, because the holding of the United States Court of Appeals for the
Federal Circuit therein did not depend on those concessions. Gov’t Reply at 2. Likewise, Alpha
I, 89 Fed. Cl. 347, is not applicable because that case was a partnership-level proceeding without
a prior determination that the transactions at issue lacked economic substance. See id. at 349,
359. Indeed, requiring a concession by Plaintiffs that the FPAA determinations were not altered
by their settlement agreement with the IRS would “vitiate § 7422(h).” Gov’t Reply at 3.

       Likewise, the Government contends that Plaintiffs’ argument that the FPAA cannot be a
basis for a penalty interest assessment because the FPAA cites multiple grounds for
disallowance, cannot prevail since both Keener II and Prati III rejected this view. See Keener II,
551 F.3d at 1367; see also Prati III, 603 F.3d at 1308; Schell v. United States, 589 F.3d 1378,
1384 (Fed. Cir. 2009) (same). Moreover, there is no doctrine requiring this court to determine
whether the FPAA’s multiple grounds for disallowance are separable before determining
whether Keener II and Prati III govern the disposition of this issue. Gov’t Reply at 5.

        Finally, the Government argues that res judicata is irrelevant, because the United States
Court of Appeals for the Federal Circuit held in Prati III and Keener II that 26 U.S.C. § 7422(h)
bars the court from adjudicating claims like the remaining claims alleged in the December 28,
2001 Complaint. Gov’t Reply at 6. Moreover, Plaintiffs’ interpretation of Duffie is incorrect;
Duffie did not link its res judicata analysis to its jurisdictional analysis, but held that the trial
court had no jurisdiction under either basis. See Duffie, 600 F.3d at 372-84. Likewise, Jade
Trading did not apply a res judicata analysis, but instead held that the trial court did not have
jurisdiction to adjudicate the plaintiff’s claims under 26 U.S.C. § 6226(f). See Jade Trading, 598
F.3d at 1378-80. Similarly, Plaintiffs attempt to “transmogrif[y]” the United States Supreme
Court’s “limited” opinions in Henderson and Tohono O’Odham, by extending them beyond their
specific statutory contexts. Gov’t Reply at 7-8.

               4.      The Court’s Resolution.

                       a.      The United States Court Of Appeals For The Federal Circuit’s
                               Decisions In Keener II And Prati III.

        Section 7422(h) of the Internal Revenue Code provides that “[n]o action may be brought
for a refund attributable to partnership items,” 8 subject to two exceptions not applicable here.
       8
         The Internal Revenue Code defines “partnership item” as “any item required to be taken
into account for the partnership’s taxable year under any provision of subtitle A to the extent
regulations prescribed by the Secretary provide that, for purposes of this subtitle, such item is
more appropriately determined at the partnership level than at the partner level.” 26 U.S.C. §
6231(a)(3). In contrast, an “affected item” is “defined by statute as ‘any item to the extent such
item is affected by a partnership item,’ . . . [and] includes both a partnership-level component
(requiring partnership-level determinations) and a partner-level component (requiring partner-
level determinations).” Keener II, 551 F.3d at 1366 (quoting 26 U.S.C. § 6231(a)(5)).



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The United States Court of Appeals for the Federal Circuit has twice considered whether this
court has jurisdiction, pursuant to Section 7422(h), to consider statute of limitations and penalty
interest claims in a partner-level refund suit and has determined in each instance that this court
does not. 9

         Regarding the statute of limitations claims, the United States Court of Appeals for the
Federal Circuit unambiguously has held that “the statute of limitations issue is a partnership
item . . . that [the plaintiffs] were required to raise . . . in the partnership-level proceeding prior to
either entering settlement or stipulating to judgment in the Tax Court.” Prati III, 603 F.3d at
1307; see also Keener II, 551 F.3d at 1363 (same). In Keener II, our appellate court rejected
those plaintiffs’ argument that the term “partnership item” could only include items found in
subtitle A of the Internal Revenue Code, holding that the statute was ambiguous as to whether
items outside of subtitle A could be included in the statutory definition of “partnership item.”
Keener II, 551 F.3d at 1362-63. Next, the Court held that Treas. Reg. § 301.6231(a)(3)-1(b)’s
definition of “partnership item” 10 was reasonable and therefore subject to deference under the
United States Supreme Court’s decision in Chevron, U.S.A., Inc. v. Natural Res. Def. Council,
Inc., 467 U.S. 837 (1984). See Keener II, 551 F.3d at 1363. Since the Keener plaintiffs “d[id]
not dispute,” as a matter of law, that their statute of limitations claim was a “partnership item”
under Treas. Reg. § 301.6231(a)(3)-1(b), the United States Court of Federal Claims was held not
to have jurisdiction over those plaintiffs’ statute of limitations claim in a partner-level
proceeding. Id. Moreover, in Prati III, the United States Court of Appeals for the Federal
Circuit, rejected the Prati plaintiffs’ attempt to distinguish Keener II on the ground that their
statute of limitations claim was governed by 26 U.S.C. § 6501, instead of 26 U.S.C. § 6229,
because the two sections “operate in tandem to provide a single limitations period.” Prati III,
603 F.3d at 1307.

         As for penalty interest claims, the United States Court of Appeals for the Federal Circuit
has held that “the nature of a partnership’s transactions – and, specifically, whether a
partnership’s transaction is a ‘sham’ – is a partnership item,” and therefore the United States
Court of Federal Claims does not have jurisdiction over a partner-level claim disputing the nature
of a partnership transaction. See Keener II, 551 F.3d at 1366; see also Prati III, 603 F.3d at 1308
(same). In Keener II, as is the case here, the FPAAs issued by the IRS listed several reasons for
disallowance, including that “‘[t]he partnership’s activities constitute[d] a series of sham
transactions.’” 551 F.3d at 1365 (quoting the Keener FPAA) (alterations in original). The
Keener plaintiffs settled with the IRS using a Form 870-P(AD) that did not mention the sham
finding, but the Form 870-P(AD) did warn that a settlement “‘may result in an additional tax
liability to [Taxpayers] plus interest as provided by law.’” Id. (quoting the Keener Form 870-

        9
         In addition, in Keefe v. United States, 407 Fed. App’x 420, 420 (Fed. Cir. 2010) (non-
precedential), the United States Court of Appeals for the Federal Circuit summarily affirmed the
dismissal of 53 AMCOR-related cases alleging statute of limitations and penalty interest claims.
        10
           The IRS defines “partnership item” to include “the legal and factual determinations
that underlie the determination of the amount, timing, and characterization of items of income,
credit, gain, loss, deduction, etc.” Treas. Reg. § 301.6231(a)(3)-1(b)).



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P(AD)) (alterations in original). The appellate court reasoned that “the applicability of [26
U.S.C.] § 7422(h) turns on whether Taxpayers’ refund claims are ‘due to, caused by, or
generated by’ a partnership item.” Id. (quoting Electrolux Holdings, Inc. v. United States, 491
F.3d 1327, 1330-31 (Fed. Cir. 2007)).              The Keener plaintiffs’ contention that their
underpayments were not attributable to a tax motivated transaction, in fact, was an attempt to
have their transactions not deemed shams. Id. As such, this argument concerned the
characterization of the partnership’s transactions, and the “characterization of a partnership’s
transaction is a partnership item” over which the United States Court of Federal Claims does not
have jurisdiction in a partner-level suit. Id. at 1365-66. 11

        In Prati III, the United States Court of Appeals for the Federal Circuit also rejected the
contention that the settlement agreements “must be deemed to have incorporated all of the
grounds listed in the FPAA,” and penalty interest should not be imposed when an underpayment
is not “solely attributable” to a tax motivated transaction, pursuant to Treas. Reg. § 301.6621-2T,
A-5. See Prati III, 603 F.3d at 1308. This argument was described as “inherently a dispute over
the proper characterization of the partnerships’ transactions” over which the United States Court
of Federal Claims does not have jurisdiction. Id. In addition, our appellate court held that any
argument based on the fact that the Form 870-P(AD) settlement agreements did not include any
determination as to the nature of the partnerships’ transaction, was barred by 26 U.S.C. §
7422(h) “[t]o the extent [plaintiffs] are disputing the finding that those transactions were tax
motivated.” Id.




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           The United States Court of Appeals for the Federal Circuit addressed three additional
arguments in Keener II. First, the Court analyzed whether plaintiffs should be allowed to
challenge the penalty interest assessment, because it is an “affected item” not subject to 26
U.S.C. § 7422(h)’s jurisdictional bar. See Keener II, 551 F.3d at 1366. The appellate court
rejected this argument, holding that 26 U.S.C. § 7422(h) bars refund claims attributable to
partnership items, i.e., not just to partnership items, and the plaintiffs had “only challenge[d] a
partnership-level component of this affected item.” See id. at 1366-67. In addition, the appellate
court rejected the “oblique[]” suggestion that Keener II was the same as a case in which no
partnership-level determination was made, instead holding that the FPAAs disallowed the
deductions on sham transaction grounds and the taxpayers had conceded that the FPAAs were
not altered by the Form 870-P(AD) settlements. See id. at 1367. Finally, the appellate court
rejected the argument that it was impossible to determine whether the underpayments were
attributable to a tax motivated transaction given that the FPAAs stated several grounds for
disallowance. Id. After observing that it only “assum[ed]” it would have jurisdiction over this
argument, the Court opined that it would be “inequitable” if penalty interest were to be imposed
“when a deduction is disallowed because the partnerships’ transactions were tax motivated,” but
not imposed “when that deduction is also disallowable on other inseparable grounds.” Id.



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                       b.      The United States Court Of Federal Claims Does Not Have
                               Jurisdiction Over The Remaining Claims In The December 28,
                               2011 Complaint.

        In this case, Plaintiffs attempt to distinguish Prati III and Keener II by asserting that these
cases are not controlling precedent. The court rejects this argument.

        The statute of limitations claim in this case is the same as those in Prati III and Keener II.
Nevertheless, Plaintiffs assert that the taxpayers in Keener II made three concessions that are not
in the record of this case. Two of the “concessions” in Keener II were that the statute of
limitations claim “must be taken into account for the partnership’s taxable year” and is “more
appropriately determined at the partnership level.” Keener II, 551 F.3d at 1362-63. The court
does not consider these contentions to be admissions of fact in the usual context of litigation, but
simply part of the Keener plaintiffs’ interpretation of the Internal Revenue Code’s definition of
“partnership item.” See id. Therefore, adjudication of that issue is foreclosed, as the IRS
regulation’s definition of “partnership item” has been held to be permissible by our appellate
court. See id. at 1363. The other nominal “concession” in Keener II was that those plaintiffs
“d[id] not dispute” that the IRS regulation included statute of limitations considerations within
the definition of “partnership item.” Id. at 1362. The court agrees with Keener I, however, that
the statute of limitations claim in this case “involves a partnership item, preventing those
arguments from being considered here.” Keener I, 76 Fed. Cl. at 460; see also Weiner v. United
States, 389 F.3d 152, 157 (5th Cir. 2004) (“[T]he treasury regulations have implicitly included
the statute of limitations determination within the definition of ‘partnership item.’”); cf. Keener
II, 551 F.3d at 1363 (observing that “legion[s] of other courts . . . have found that this limitations
claim cannot be raised in a partner-level proceeding” (internal quotation marks omitted)).
Indeed, Plaintiffs have not presented any argument as to why their statute of limitations claim is
not subsumed by the IRS regulation’s definition of “partnership item.”

        In this case, Plaintiffs’ effort to distinguish their penalty interest claim also fails.
Plaintiffs argue that Prati III and Keener II require the court to determine that the multiple
grounds for disallowance recited in the FPAA are inseparable from the sham transaction finding.
There is no support whatsoever for Plaintiffs’ contention that these cases require the court to
make such a finding. Plaintiffs rely on the use of the word “inseparable” in Keener II dicta that
only assumed jurisdiction arguendo. See Keener II, 551 F.3d at 1367; see also Alpha I, 89 Fed.
Cl. at 358-59 (characterizing the comment in Keener II as dictum). Moreover, as Prati III stated,
“the IRS’s inclusion of additional grounds for disallowance of [the plaintiffs’] deduction d[oes]
not somehow undermine its determination that the transactions at issue were tax motivated.”
Prati III, 603 at 1306 (summarizing the holding in Keener II); see also Schell, 589 F.3d at 1384
(“[T]hat the FPAAs listed ‘sham transaction’ as one of several grounds for disallowing
partnership deductions does not, as the Taxpayers suggest, render the FPAAs less conclusive.”
(citing Keener II, 551 F.3d at 1366)). Therefore, Plaintiffs’ inseparability argument is nothing
more than a restatement of an argument rejected in Prati III that the “underpayments were not
‘solely attributable’ to tax-motivated transactions.” Prati III, 603 at 1308. As such, Plaintiffs’
inseparability argument is “inherently a dispute over the proper characterization of the
partnership[‘s] transactions[] that . . . is barred by section 7422(h) from being litigated in [a
partner-level] refund action before the Court of Federal Claims.” Id.



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         Finally, Plaintiffs devote the majority of their brief to arguing that the court should apply
a res judicata-based analysis, discussed by the United States Court of Appeals for the Fifth
Circuit in Duffie, and rule that Plaintiffs are not bound by the prior Tax Court proceeding. There
are two dispositive reasons why the court need not apply the doctrine of res judicata. First,
Duffie is not binding precedent; Prati III and Keener II are. 12 Second, Plaintiffs’ Form 870-
P(AD) Settlement Agreement governs how partnership items will be treated regarding Plaintiffs’
tax liability, not the Tax Court Stipulated Decision. See 26 U.S.C. § 6224(c)(1) (“A settlement
agreement between the Secretary or the Attorney General . . . and 1 or more partners in a
partnership with respect to the determination of partnership items for any partnership taxable
year shall (except as otherwise provided in such agreement) be binding on all parties to such
agreement with respect to the determination of partnership items for such partnership taxable
year.”); see also Schell, 589 F.3d at 1382 (“When a partner chooses to settle his individual tax
liability with the IRS, that partner would no longer participate in the partnership level
proceeding, and instead would be bound by the terms of his settlement agreement.”). In fact,
Plaintiffs’ Form 870-P(AD) states that “the treatment of partnership items under this agreement
will not be reopened in the absence of fraud, malfeasance, or misrepresentation of fact; and no
claim for refund or credit based on any change in the treatment of partnership items may be filed
or prosecuted.” Pl. Resp. Ex. 5 at 53. Therefore, whether Plaintiffs should be bound by the Tax
Court action is irrelevant to the “partnership item” determinations made as to their tax liability. 13




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          Plaintiffs’ argument that, “because res judicata was either not argued or ignored in
Keener [II] and Prati [III], those decisions are not precedent to be followed in this subsequent
case in which res judicata [is raised],” also is without merit. See Pl. Resp. at 23 (citing Nat’l
Cable Television Ass’n, 937 F.2d at 1581). The proposition set forth in National Cable
Television is simply that, “[w]hen an issue is not argued or is ignored in a decision, such decision
is not precedent to be followed in a subsequent case in which the issue arises.” Nat’l Cable
Television Ass’n, 937 F.2d at 1581 (emphasis added). In this case, the United States Court of
Appeals for the Federal Circuit has squarely addressed the issues presented. Where our appellate
court announces a rule that decides a case, the court is not at liberty to disregard that precedent.
        As for Plaintiffs’ reliance on Henderson, Tohono O’Odham, and Jade Trading as
“significant changes in the law since Prati [I], [II], and even [III] were briefed and/or issued” (Pl.
Resp. at 12), those decisions were only argued to apply in this case through Plaintiffs’ proposed
res judicata analysis, and do not, on their own, require the court to examine their effect on Prati
III and Keener II.
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           For the same reasons, the Behrens Affidavit attesting to Mr. Behrens’ intent when
entering into the Stipulated Decision in the Tax Court case is irrelevant as to the legal effect of
the Plaintiffs’ Settlement Agreement with the IRS.


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IV.    CONCLUSION.

        For the foregoing reasons, the Government’s September 23, 2011 Motion To Dismiss the
statute of limitations (Compl. ¶¶ 12.A-B) and penalty interest claims (Compl. ¶¶ 12.C-E),
pursuant to RCFC 12(b)(1), is granted. Accordingly, the Clerk of the Court is directed to enter
final judgment, dismissing the December 28, 2001 Complaint for lack of subject matter
jurisdiction.

       IT IS SO ORDERED.

                                                           s/ Susan Braden
                                                          SUSAN G. BRADEN
                                                          Judge




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